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1    CHRISTOPHER HAYDN-MYER, Bar #176333
     717 K Street, Suite 231
2    Sacramento, California 95814
     Telephone: (916) 622-1703
3    Fax: (916) 443-2736
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5    Attorney for Defendant
     OSCAR CANIZALEZ
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7
8                          IN THE UNITED STATES DISTRICT COURT
9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,             )   CR. NO. S-04-381 FCD
                                           )
13                     Plaintiff,          )   STIPULATION; ORDER
                                           )
14          v.                             )   Date: May 16, 2005
                                           )   Time: 9:30 a.m.
15   MIGUEL ANGEL SANCHEZ,                 )   Hon. Frank C. Damrell, Jr.
     RICARDO GONZALEZ SALAS, and           )
16   OSCAR CANIZALEZ                       )   “AS MODIFIED”
                                           )
17                     Defendants.         )
18   _______________________________
19          Defendant, Oscar Canizalez, through Christopher Haydn-Myer,
20   Attorney At Law, defendant, Miguel Angel Sanchez, through Mark J.
21   Reichel, and defendant Ricardo Gonzales Salas, through his attorney,
22   Jesse Soto Ortiz, and the United States of America, through Assistant
23   U.S. Attorney Samuel Wong, agree as follows:
24          It is agreed that the current Status Conference date of May 16,
25   2005 be vacated and a new Status Conference date of May 31, 2005 be
26   set.
27          The continuance is necessary because all of the co-defendants are
28   receiving new plea agreements, and counsel needs time to review the
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1    plea agreements with their clients.
2         Further, the discovery motion set to be heard on May 17, 2005
3    before the Honorable Gregory G. Hollows has been rescheduled to June
4    13, 2005 by agreement of all of the parties.
5         For all of these reasons, the parties jointly request a new status
6    conference date, and that the time period from May 16, 2005, to and
7    including May 31, 2005 be excluded under the Speedy Trial Act pursuant
8    to 18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4 for defense
9    preparation and based on a finding by the Court that the ends of
10   justice are served by granting the continuance outweigh the best
11   interest of the public and defendant in a speedy trial.          Further, that
12   time will be excluded because of the discovery motion to be heard on
13   June 13, 2005.
14   Dated: May 11, 2005
15                                          Respectfully submitted,
16                                          /s/ Christopher Haydn-Myer
                                            ________________________________
17                                          CHRISTOPHER HAYDN-MYER
                                            Attorney for Defendant
18                                          Oscar Canizalez
19                                          MCGREGOR SCOTT
                                            United States Attorney
20
21   DATED: May 11, 2005                    /S/ Christopher Haydn-Myer for
                                            SAMUEL WONG
22                                          Assistant U.S. Attorney
                                            Attorney for Plaintiff
23
                                            QUIN DENVIR
24                                          Federal Public Defender
25   DATED: May 11, 2005                    /S/ Christopher Haydn-Myer for
                                            MARK J. REICHEL
26                                          Assistant Public Defender
                                            Attorney for Defendant
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28                                           2
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1                                           Miguel Angel Sanchez
2    DATED: May 11, 2005                    /S/ Christopher Haydn-Myer for
                                            JESSE SOTO ORTIZ III
3                                           Attorney for Defendant
                                            Ricardo Gonzales Salas
4
5                                         ORDER
6         The Status Conference date of May 16, 2005 is vacated and a new
7    Status Conference date of May 31, 2005 at 9:30 a.m. is set.
8         Further, the discovery motion set to be heard on May 17, 2005 before
9    the Honorable Gregory G. Hollows has been rescheduled to June 13, 2005 at
10   2:00 p.m. before the Honorable Peter A. Nowinski by agreement of all of
11   the parties.
12        Time from May 16, 2005, to and including May 31, 2005 is excluded
13   under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(B)(iv) and
14   Local Code T4
15
16   DATED: May 11, 2005
17                                          /s/Frank C. Damrell Jr.
                                            HON. FRANK C. DAMRELL, JR.
18                                          UNITED STATES DISTRICT JUDGE
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